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                                                                    U.S. Department of Justice

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LeoJ. Wise                                                          Suile.fOO                         DIRECT,4/O.209:4909
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Assistant United States A/torney                                    36 S. Charles Street                ,\fA IN, 410.20*-1800
Leo.Wise@fHdoj.gol'                                                 Ba/timore. MD 2/20/-)1/9               FAX, 4/0.962.3091




                                                                    January 2, 2018


Steven H. Levin
Levin & Curlett LLC
300 E. Lombard Street
Suite 1510
Baltimore. Maryland 21202

                   Re: Uniled Slales v. Wayne Jenkins, Cr. No. 17-106 and Cr. No. 17-638

Dear Counsel:

        This letter, together with the Sealed Supplement. confirms the plea agreement which has
been offered to the Defendant by the United States Attorney's Office for the District of Maryland
("this OtTice"). If the Defendant accepts this offer, please have him execute it in the spaces
provided below. If this offer has not been accepted by January 5, 2018, it will be deemed
withdrawn. The terms of the agreement are as follows:

                                                   Offenses of Conviction

           I. The Defendant agrees to plead guilty to:

                        a.   Cr. No. ccn 17-106:
                                  I. Count One, charging him with racketeering conspiracy, in violation of 18
                                     U.S.c. ~ I 962(d)
                                 II. Count Two, charging him with racketeering, in violation of 18 U.S.c. ~
                                     I962(c); and
                                III. Counts Three and Five, charging him with Hobbs Act Robbery, in
                                     violation of 18 U.S.C. ~ 1951

                        b. Cr. No. ccn 17-638:
                                I. Count One charging him with destruction,       alteration, or falsification of
                                   records in a federal investigation, in violation of 18 U.S.c. ~ 1519; and
                               11. Counts Two through Five charging him with deprivation of rights under
                                   color of law, in violation of 18 U.S.c. ~ 242.
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   Thc Defendant admits that he is, in fact, guilty of these offenses and will so advise the
   Court.

2. The elemcnts of the offenses to which the Defendant has agreed to plead guilty, and which
   this Office would prove if the case went to trial, are as follows:

       a.   Cr. No. CCB 17-106

               i. Count One -- Racketeering Conspiracy, 18 V.S.c. S 1962(d)
                  (1) First, that an enterprise existed as alleged in the indictment;
                  (2) Second, that the enterprise affected interstate or foreign
                        commerce;
                     (3) Third, that the defendant was associated with or employed by
                         the enterprise; and
                     (4) Fourth,that the defendant knowingly and willfully became a
                         member of the conspiracy.

               ii. Count Two - Racketeering,        18 V.S.c. S 1962(e)
                   (1) First, that an enterprise existed as alleged in the indictment;
                   (2) Second, that the enterprise affected interstatc or foreign
                       commerce;
                   (3) Third, that the defendant was associated with or employed by
                       the enterprise;
                   (4) Fourth, that the defendant engaged in a pattern of racketeering
                       activity; and
                   (5) Fifth that the defendant conducted or participated in the
                       conduct of the entcrprise through that pattem of racketeering
                       activity.

              iii.   Counts Three and Five - Hobbs Act Robbery, 18 V.S.c. S 1951
                     (I) First, that the defendant knowingly obtained or took the personal
                         property of another, or from the presence of another;
                     (2) Second, that the defendant took this property against the victim's will,
                         by actual or threatened force, violence, or fear of injury, whether
                         immediately or in the future; and
                     (3) Third, that as a result of the defendant's actions, interstate commerce,
                         or an item moving in interstate commerce, was delayed, obstructed, or
                         affected in any way or degree.




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       b. Cr. No. CCB 17-638

               i. Count One -- Destruction,          Alteration,   or Falsification    of
                  Records in Federal Investigation,     18 U.S.c. ~ 1519
                  (I) First, that the defendant altered (or falsified or destroyed or
                       mutilated or concealed or covered up or made a false entry in)
                       any record, document, or object that can be used to record or
                       preserve in-formation as alleged in the Indictment;
                  (2) Second, that the defendant acted knowingly; and
                  (3) Third, that the defendant acted with the intent to impede,
                       obstruct or influence an investigation (or a mailer) within the
                      jurisdiction of (or in relation to or in contemplation        of) a
                       department or agency of the United States Government.

               ii. Counts Two through Five - Deprivation of Rights Under Color
                   of Law, 18 U.S.c. ~ 242
                   (1) First, that on or about the dates charged in the Indictment, the
                       defendant acted under color of law;
                   (2) Second, that in so doing, the defendant deprived, or caused to be
                       deprived, U.B. and B.M., of their rights which are secured and
                       protected by the Constitution and laws of the United States-
                       that is, the right to be free from the deprivation of liberty without
                       due process of law, which includes the right to be free from
                       incarceration due to the fabrication of evidence by a law
                       enforcement officer and the right to be free from incarceration
                       due to a law enforcement officer's willful failure to disclose
                       exculpatory evidence to a prosecutor; and
                   (3) The defendant acted willfully.

                                          Penalties

3. The maximum sentences provided by statute for the offenses to which the Defendant is
   pleading guilty are as follows:

       a.   Cr. No. CCB 17-106

               J.   Count One, Racketeering     Conspiracy,   18 U.S.c. ~ 1962(d), and Count
                    Two, Racketeering,    18 U.S.c. ~ 1962(c): a sentence of not more than 20-
                    year term of incarceration, 3 years of supervised release and a fine of not
                    more than twice gross proceeds derived from the offense.




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                    II.   Counts Three and Five, Hobbs Act Robbery, 18 U.S.c. ~ 1951:
                          a sentence of not more than 20-year term of incarceration, 3 years
                          of supervised release and a fine of not more than $250,000.

             b. Cr. No. CCO 17-638

                     i. Count One, Destruction, Alteration, or Falsification of Records
                        in Federal Investigation,  18 U.S.c. ~ 1519: a sentence of not more
                        than 20-year term of incarceration, 3 years of supervised release and
                        a fine of nOl more than $250,000.

                    ii. Counts Two through Five, Deprivation of Rights Under Color
                        of Law, 18 U.S.c. ~ 242: a sentence not more than I year of
                        incarceration, 3 years of supervised release and a fine of not more
                        than $250,000.

   4.   [n addition, the Defendant must pay $900 as a special assessment pursuant to 18 U.S.C. S
        3013, which will be due and should be paid at or before the time of sentencing. This
        Court may also order him to make restitution pursuant to 18 U.S.c.     ss  3663, 3663A, and
        3664. I If a fine or restitution is imposed, it shall be payable immediately, unless,
        pursuant to 18 U.S.C. S 3572(d), the Court orders otherwise. The Defendant understands
        that if he serves a term of imprisonment, is released on supervised release, and then
        violates the conditions of his supervised release, his supervised release could be revoked -
        even on the last day of the term - and the Defendant could be returned to custody to serve
        another period of incarceration and a new term of supervised release. The Defendant
        understands that the Bureau of Prisons has sole discretion in designating the institution at
        which the Defendant will serve any term of imprisonment imposed.

                                           Waiver of Rights

   5. The Defendant understands       that by entering into this agreement, he surrenders certain
      rights as outlined below:

        a.   If the Defendant had persisted in his plea of not guilty, he would have had the right to
             a speedy jury trial with the close assistance of competent counsel. That trial could be
             conducted by ajudge, without ajury, if the Defendant, this Office, and the Court all
             agreed.




I Pursuant to 18 U.S.c. S 3612, if the Court imposes a fine in excess of$2,500 that remains
unpaid 15 days after it is imposed, the Defendant shall be charged interest on that fine, unless the
Court modifies the interest payment in accordance with 18 U.S.c. S 3612(1)(3).


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b.    If the Defendant elected a jury trial, the jury would be composed of twelve
      individuals selected from the community. Counsel and the Defendant would have the
     opportunity to challenge prospective jurors who demonstrated bias or who were
     otherwise unqualified, and would have the opportunity to strike a certain number of
     jurors pcremptorily. All twelve jurors would have to agree unanimously before the
      Defendant could be found guilty of any count. The jury would be instructed that the
      Defendant was presumed to be innoccnt, and that presumption could be overcome
      only by proof beyond a reasonable doubt.

c.   If the Defendant went to trial, the government would have the burden of proving the
     Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
     confront and cross-examine the government's witnesses. The Defendant would not
     have to present any defense witnesses or evidence whatsoever. If the Defendant
     wanted to call witnesses in his defense, howevcr, he would have the subpoena power
     of the Court to compel the witncsses to attend.

d. The Defendant would have the right to testify in his own defense ifhe so chose, and
   he would have the right to refuse to testify. If he chose not to testify, the Court could
   instruct the jury that they could not draw any adverse inference from his decision not
   to testify.

e.   If the Defendant were found guilty after a trial, he would have the right to appeal the
     verdict and the Court's pretrial and trial decisions on the admissibility of evidence to
     see if any errors were committed which would require a new trial or dismissal of the
     charges against him. By pleading guilty, the Defendant knowingly gives up the right
     to appeal the verdict and the Court's decisions.

f.   By pleading guilty, the Defendant will be giving up all of these rights, except the
     right, under the limited circumstances set forth in the "Waiver of Appeal" paragraph
     below, to appeal the sentence, By pleading guilty, the Defendant understands that he
     may have to answer the Court's questions both about the rights he is giving up and
     about the facts of his case. Any statements the Defendant makes during such a
     hearing would not be admissible against him during a trial except in a criminal
     proceeding for perjury or false statement.

g,   (fthe Court accepts the Defendant's plea of guilty, there will be no further trial or
     proceeding of any kind, and the Court will find him guilty.

h, By pleading guilty, the Defendant will also be giving up certain valuable civil rights
   and may be subject to deportation or other loss of immigration status.

I.   The Defendant recognizes that ifhe is not a citizen of the United States, pleading
     guilty may have consequences with respect to his immigration status. Under federal


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        law, conviction for a broad range of crimes can lead to adverse immigration
        consequences, including automatic removal from the United States. Removal and
        other immigration consequences are the subject of a separate proceeding, however,
        and the Defendant understands that no one, including his attorney or the Court, can
        predict with certainty the effect of a conviction on immigration status. Defendant
        nevertheless affirms that he wants to plead guilty regardless of any potential
        immigration consequences.

                                   Rulc II (c)(I)(C) Plea

6. The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure
    II (c)( I)(C) that a sentence of 240 to 360 months (20 to 30 years) of incarceration is the
   appropriate disposition of this case. This agreement does not affect the Court's discretion
   to impose any lawful term of supervised release or fine or to order forfeiture or restitution
   in an amount determined by the Court to be the loss in this case or to set any lawful
   conditions of probation or supervised release. In the event that the Court rejects this plea
   agreement, either party may elect to declare the agreement null and void. Should the
   Defendant so elect, he wi II be afforded the opportunity to withdraw his plea pursuant to
   the provisions of Federal Rule of Criminal Procedure I I (c)(5).

                          Advisory Sentencing Guidelines Applv

7. The Defendant understands that the Court will determine a sentencing guidelines range
   for this case (henceforth the "advisory guidelines range") pursuant to the Sentencing
   Reform Act of 1984 at 18 U.S.C. SS 3551-3742 (excepting 18 U.S.C. SS 3553(b)(I) and
   3742(e)) and 28 U.S.c. SS 991 through 998. The Defendant further understands that the
   Court will impose a sentence pursuant to the Sentencing Reform Act, as excised, and
   must take into account the advisory guidelines range in establishing a reasonable
   sentence.

                        Factual and Advisory Guidelines Stipulation

8. This Office and the Defendant understand, agree and stipulate to the Statement of Facts
   set forth in Attachment A hereto which this Office would prove beyond a reasonable
   doubt.

9.   Cr. No. CCB 17-106, Count One, Racketeering         Conspirllcy, 18 U.S.c. ~ 1962(d) lind
     Count Two, Rllcketeering,      18 U.S.c. ~ 1962(c): The parties agree that pursuant to
     U.S.S.G. SiB 1.2, "[a] conviction on a count chllrging a conspiracy to commit more than
     one offense shall be treated as if the defendant had been convicted on a separate count of
     conspiracy for each offense that the defendant conspired to commit." Similarly, pursuant
     to U.S.S.G. S 2E I. J (a)(2) & Application Note 1, because this is a case charging
     racketeering wherc there is more than one underlying offense, each underlying offense is


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to be treated as if it were contained in a separate count of conviction for purposes of
determining the base offense level. The parties agree that the advisory sentencing
guidelines for racketeering conspiracy are U.S.S.G. 9 2E1.1, the advisory sentencing
guideline for the robberies charged in the Superseding Indictment are U.S.S.G. 9 2B3. I
and the advisory sentencing guidelines for the overtime fraud charged in the Superseding
Indictment are U.S.S.G. 9 2B 1.1. The parties further agree that in order to determine
whether the base offense level should be 19 or the offense level from the underlying
activity, Chapter 3, Parts A, B, C & D, must be applied.       U.S.S.G. 9 2E 1. I(a)(2) &
Application Note I.

       a.   Group I - May I I, 20 II, Robbery of W.B.
                 i. U.S.S.G. 9 2B3.1, Robbery
                        1. Base Offense Level: 20
                        2. Firearm Possessed: +5
                        3. Physical restraint of victim: +2
                II. Leader / organizer of criminal activity: +2 (2B 1.1(c»
               iii. Abuse of trust: +2 (3B 1.3)
               IV.  Obstruction: +2 (3CI.I)
                v. Total: 33

       b. Group 2 -July 11,2014, Robbery of J.e.
               I.  U.S.S.G. 9 2B3.1, Robbery
                     I. Base Offense Level: 20
                     2. Firearm Possessed: +5
                     3. Physical restraint of victim: +2
              ii.  Leader / organizer of criminal activity: +2 (2B 1.1(c»
             iii.  Abuse of trust: +2 (3B 1.3)
             IV.   Obstruction: +2 (3C 1.1)
              v.   Total: 33

       b. Group 3 - Spring 2015, Robbery at Belvedere Towers
               i.  U.S.S.G. 9 2B3.1, Robbery
                   I. Base Offense Level: 20
                   2. Firearm Possessed: +5
              II.  Leader / organizer of criminal activity: +2 (2B 1.1(c»
             iii.  Abuse of trust: +2 (3B 1.3)
             IV.   Obstruction: +2 (3CI.I)
              v.   Total: 31

       c.   Group 4 - February 4, 2016, Robbery of M.S.
                i.   U.S.S.G. 9 2B3.1, Robbery
                     I. Base Offense Level: 20
                     2. Firearm Possessed: +5


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                    3. Physical restraint of victim: +2
              II.   Leader / organizer of criminal activity: +2 (281.1 (c))
             iii.   Abuse of trust: +2 (381.3)
             IV.    Obstruction: +2 (3C 1.\)
              v.    Total: 33

     d. Group 5 - March 22, 2016, Robbery ofO.S. and K.H.
            I.   U.S.S.G. g 283.1, Robbery
                   I. Base Offense Level: 20
                  2. Firearm Possessed: +5
                  3. Physical restraint of victim: +2
                  4. Loss> $95,000: +2
                  5. Controlled dangerous substance taken: + I
           II.   Leader/Organizer of Criminal Activity> 5 participants:       +4
                    (3B 1.1(a»
             iii.   Abuse of trust: +2 (3B 1.3)
             IV.    Obstruction: +2 (3C 1.1)
              v.    Total: 38

     e.   Group 6 - July 8, 2016, Robbery ofR.H. and N.H.
               I.  U.S.S.G. g 283.\, Robbery
                   I. Base Offense Level: 20
                   2. Firearm Possessed: +5
                   3. Physical restraint of victim: +2
                   4. Loss> $20,000: + \
              II.  Leader / organizer of criminal activity: +2 (2B \.1 (c))
             iii.  Abuse of trust: +2 (3BI.3)
             IV.   Obstruction: +2 (3CI.I)
              v.   Total: 34

     f.   Group 7 - August 8, 2016, Robbery of D.A.
               I.  U.S.S.G. g 2B3.1, Robbery
                   I. Base Offense Level: 20
                   2. Firearm Possessed: +5
                   3. Physical restraint of victim: +2
                   4. Controlled dangerous substance taken: + I
              ii.  Leader / organizer of criminal activity: +2 (2B 1.1(c»
             iii.  Abuse of trust: +2 (3B 1.3)
             iv.   Obstruction: +2 (3CI.1)
              v.   Total: 34

     g.   Group 8 - Time and Attendance      Fraud (2B \.\)
              i. Base Offense Level: 7


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                   II. Abuse of trust: +2 (3B 1.3)
                  iii. Total: 9

           h. Group 9 - Destruction, Alteration, or Falsification of Records in Federal
               Investigation (2J 1.2)
                i. Base Offense Level: 14
               ii. Substantial interference with administration of justice: +3
              iii. Offense involved selection of essential or especially probative record,
                   document or tangible object to destroy or alter: +2
              IV.  Abuse of trust: +2 (3B 1.3)
               v. Total: 21

           I.   Group 10 - Deprivation of Rights Under Color of Law (2HI.I):     Total 21

   The parties agree that pursuant to U.S.S.G. ~ 3D 1.4, groups 1-10 total 4 units. Therefore,
   4 levels are added to the group with the highest offense level, which is Group 5, resulting
   in a total offense level of 41. Since 41 is higher than 19, pursuant to U .S.S.G. ~ 2E 1.1,
   42 is the total offense level.

10. Cr. No. CCB 17-106, Count Three - Hobbs Act Robbery, 18 U.S.c. ~ 1951
        a. U.S.S.G. ~ 2B3.1, Robbery
                I. Base Offense Level: 20
               II. Firearm Possessed: +5
              iii. Physical restraint of victim: +2
              IV.  Loss> $95,000: +2
               v. Controlled dangerous substance taken: + I
           b. Leader/Organizer of Criminal Activity> 5 participants: +4 (3B 1.\ (a))
           c. Abuse of trust: +2 (3B 1.3)
           d. Obstruction: +2 (3CI.I)
           e. Total: 38

II. Cr. No. CCB 17-106, Count Five - Hobbs Act Robbery 18 U.S.c. ~ 1951
        a. U.S.S.G. ~ 2B3.1, Robbery
                I. Base Offense Level: 20
               ii. Firearm Possessed: +5
              III. Physical restraint of victim: +2
              iv. Loss> $20,000: + I
        b. Leader / organizer of criminal activity: +2 (2B 1.1(c»
        c. Abuse of trust: +2 (3B 1.3)
        d. Obstruction: +2 (3CI.\)
        e. Total: 34




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12. Cr. No. CCB 17-638, Count One -- Destruction, Alteration, or Falsification of
    Records in Fcderallnvestigation,      18 U.S.c. ~ 1519: The parties agree that pursuant
    to U.S.S.G. ~ 2JI.2 the following is the applicable guideline calculations:
        a. Base Offense Level: 14
        b. Substantial interference with administration of justice: +3
        c. Offense involved selection of essential or especially probative record, document
            or tangible object to destroy or alter: +2
        d. Abuse of trust: +2 (3131.3)
        e. Total: 21

13. Cr. No. CCll 17-638, Counts Two through Five - Deprivatiou of Rights Under Color
    of Law, 18 U.S.c. ~ 242: The parties agree that pursuant to U.S.S.G. ~ 2H1.1 the
    following is the applicable guideline calculations: pursuant to U.S.S.G. ~ 2Hl.l(a)(I),
    the base offense level is the offense level from the offense guideline caleulation
    applicable to Count One of Cr. No. 17-638, which is 21.

14. This Office does not oppose a two-level reduction in the Defendant's adjusted offense
    level. based upon the Defendant's apparent recognition and affirmative acceptance of
    personal responsibility for his criminal conduct. This Office will make a motion pursuant
    to U .S.S.G. 9 3E 1.1(b) for an additional one-level decrease in recognition of the
    Defendant's timely notification of his intention to plead guilty. These reductions result
    in the following adjusted offense levels as to the counts of conviction:

       a.   an adjusted   offense level of 39 as to Counts One and Two of Cr, No. 17-106.

       b. an adjusted     offense level of35 as to Count Three of Cr. No. 17-106

       c.   an adjusted   offense level of31 as to Count Five of Cr. No. 17-106

       d. an adjusted     offense level of 18 as to Count One of Cr. No. 17-638.

       e.   an adjusted   offense level of 18 as to Counts Two through    Five of Cr. No. 17-
            638.

15. This Office may oppose any adjustment for acceptance of responsibility if the Defendant
    (a) fails to admit each and every item in the factual stipulation; (b) denies involvement in
    the offense; (c) gives conflicting statements about his involvement in the offense; (d) is
    untruthful with the Court. this Office. or the United States Probation Office; (e) obstructs
    or attempts to obstruct justice prior to sentencing; (I) engages in any criminal conduct
    between the date of this agreement and the date of sentencing; or (g) attempts to
    withdraw his plea of guilty.




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16. The Defendant understands that there is no agreement as to his criminal history or
    criminal history category, and that his criminal history could alter his offense level ifhe
    is a career offender or if the instant offense was a part ofa pattern of criminal conduct
    from which he derived a substantial portion of his income.

17. This Office and the Defendant agree that with respect to the calculation of the advisory
    guidelines range, no other offense characteristics, sentencing guidelines factors, potential
    departures or adjustments set forth in the United States Sentencing Guidelines will be
    raised or are in dispute.

18. The Defendant and this Office have reserved the right to argue for any factor under 18
    U.S.C. S 3553(a) that could take the sentence outside of the advisory guidelines range.

19. The parties reserve the right to bring to the Court's attention at the time of sentencing,
    and the Court will be entitled to consider, all relevant information concerning the
    Defendant's background, character and conduct, including any uncharged conduct.

                                         Restitution

20. The Defendant agrces to the entry of a Restitution Order for the full amount of the
    victim's losses. The Defendant agrees that, pursuant to 18 U.S.C. SS 3663 and 3663A
    and SS 3563(b)(2) and 3583(d), the Court may order restitution of the full amount of the
    actual, total loss caused by the offense conduct. The Defendant further agrees that he
    will fully disclose to the probation officer and to the Court, subject to the penalty of
    perjury, all information, including but not limited to copies of all relevant bank and
    financial records, regarding the current location and prior disposition of all funds
    obtained as a result of the criminal conduct set forth in the factual stipulation. The
    Defendant further agrees to take all reasonable steps to retrieve or repatriate any such
    funds and to make them available for restitution. If the Defendant does not fulfill this
    provision, it will be considered a material breach of this plea agreement, and this Office
    may seek to be relieved of its obligations under this agreement.

                             Collection of Financial Obligations

21. The Defendant expressly authorizes the U.S. Attorney's Office to obtain a credit report in
    order to evaluate the Defendant's ability to satisfy any financial obligation imposed by
    the Court.

22. In order to facilitate the collection of financial obligations to be imposed in connection
    with this prosecution, the Defendant agrees to disclose fully all assets in which the
    Defendant has any interest or over which the Defendant exercises control, directly or
    indirectly, including those held by a spouse, nominee or other third party.



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23. The Defendant will promptly submit a completed financial statement to the United States
    Attorney's Office, in a form this Office prescribes and as it directs. The Defendant
    promises that the financial statement and disclosures will be complete, accurate and
    truthful, and understands that any willful falsehood on the financial statement will be a
    separate crime and may be punished under 18 U.S.C. S 1001 by an additional five years'
    incarceration and fine.

                                        Waivcr of Appeal

24. In exchange for the concessions made by this Office and the Defendant in this plea
    agreement, this Office and the Defcndant waive their rights to appeal as follows:

   a. The Defendant knowingly waives all right, pursuant to 28 U.S.c.         S 1291   or
      otherwise, to appeal the Defendant's conviction;

   b. The Defendant and this Office knowingly waive all right, pursuant to 18
      U.S.c. S 3742 or otherwise, to appeal whatever sentence is imposed, including
      the right to appeal any issues that relate to the establishment of the advisory
      guidelines range, the determination of the defendant's criminal history, the
      weighing of the sentencing factors, and the decision whether to impose and
      the calculation of any term of imprisonment, fine, order of forfeiture, order of
      restitution, and term or condition of supervised.

   c.   Nothing in this agreement shall be construed to prevent the Defendant or this
        Office from invoking the provisions of Federal Rule of Criminal Procedure
        35(a), or from appealing from any decision thereunder, should a sentence be
        imposed that resulted from arithmetical, technical, or other clear error.

    d. The Defendant waives any and all rights under the Freedom of Information Act
       relating to the investigation and prosecution of the above-captioned matter and agrees
       not to file any request for documents from this Office or any investigating agency.

                          Obstruction    or Other Violations of Law

25. The Defendant agrees that he will not commit any offense in violation of federal, state or
     local law between the date of this agreement and his sentencing in this case. In the event
    that the Defendant (i) engages in conduct after the date of this agreement which would
    justify a finding of obstruction of justice under U.S.S.G. S 3CI.I, or (ii) fails to accept
     personal responsibility for his conduct by failing to acknowledge his guilt to the
     probation officer who prepares the Presentence Report, or (iii) commits any offense in
     violation of federal, state or local law, then this Office will be relieved of its obligations
     to the Defendant as reflected in this agreement. Specifically, this Office will be free to
     argue sentencing guidelines factors other than those stipulated in this agreement, and it


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   will also be free to make sentencing recommendations other than those set out in this
   agreement. As with any alleged breach of this agreement, this Office will bear the
   burden of convincing the Court of the Defendant's obstructive or unlawful behavior
   and/or failure to acknowledge personal responsibility by a prcponderance of the evidence.
   The Defendant acknowledges that he may not withdraw his guilty plea because this
   Office is relieved of its obligations under the agreement pursuant to this paragraph.

                                     Court Not a Party

26. The Defendant expressly understands that the Court is not a party to this agreement. In
    the federal system, the sentence to be imposed is within the sole discretion of the Court.
    In particular, the Defendant understands that neither the United States Probation Office
    nor the Court is bound by the stipulation set forth above, and that the Court will, with the
    aid of the Presentence Report, determine the facts relevant to sentencing. The Defendant
    understands that the Court cannot rely exclusively upon the stipulation in ascertaining the
    factors relevant to the determination of sentence, Rather, in determining the factual basis
    for the sentence, the Court will consider the stipulation, together with the results of the
    presentence investigation, and any other relevant information. The Defendant
    understands that the Court is under no obligation to accept this Office's
    recommendations, and the Court has the power to impose a sentence up to and including
    the statutory maximum stated above. The Defendant understands that if the Court
    ascertains factors different from those contained in the stipulation set forth above, or if
    the Court should impose any sentence up to the maximum established by statute, the
    Defendant cannot, for that reason alone, withdraw his guilty plea, and will remain bound
    to fulfill all of his obligations under this agreement. The Defendant understands that
    neither thc prosecutor, his counsel, nor the Court can make a binding prediction, promise,
    or representation as to what guidelines range or sentence the Defendant will receive. The
    Defendant agrees that no one has made such a binding prediction or promise.

                                     Entire Agreement

27. This letter supersedes any prior understandings, promises, or conditions between this
    Office and the Defendant and, together with the Sealed Supplement, constitutes the
    complete plea agreement in this case. The Defendant acknowledges that there are no
    other agreements, promises, undertakings or understandings between the Defendant and
    this Office other than those set forth in this letter and the Sealed Supplement and none
    will be entered into unless in writing and signed by all parties.




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        'fthe Defendant fully accepts each and every tenn and condition of this agreement,
please sign and have the Defendant sign the original and return it to me promptly.


                                                      Very truly yours,

                                                      Stephen M. Schenning
                                                      Acting United States Attorney

                                              By:      ~/'1'2h                    4z&/-V~
                                                      Leo J. Wise                   7
                                                      Derek E. Hines
                                                      Assistant United States Attorneys

        I have read this agreement, including the Sealed Supplement, and carefully reviewed
every part of it with my attorney. I understand it, and I voluntarily agree to it. Specifically, I
have reviewed the Factual and Advisory Guidelines Stipulation with my attorney. and' do not
wish to change any part of it. 'am completely satisfied with the representation of my attorney.




        I am the Defendant's attorney. 'have carefully reviewed every part of this agreement.
including the Sealed Supplement, with him. He advises me that he understands and accepts its
tenns. To my knowledge, his decision to enter into this agreement is an informed and voluntary
one.


                                             C--=c::;>:?
                                              Steve Levin, Esq.
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                                       ATTACHMENT A
                                    STATEMENT OF FACTS

         It is agreed and stipulated that were the Government to proceed to trial in this case, it would
prove, beyond a reasonable doubt, by admissible testimonial and documentary evidence the guilt
of the Defendant on the charges of racketeering conspiracy, in violation of 18 U.S.C. ~ 1962(d);
racketeering, in violation of 18 U.S.c. S I962(c); Hobbs Act Robbery, in violation of 18 U.S.c. S
1951; destruction, alteration, or falsification of records in federal investigation, in violation of 18
U.S.c. S 1519; and deprivation of rights under of color of law, in violation of 18 U.S.c. S 242.

         This Office and the Defendant understand, agree and stipulate to the following statement
of facts and the Defendant acknowledges that it does not represent all the evidence the Government
would have produced had the case proceeded to trial.

        I. The Defendant, Wayne Jenkins (JENKINS),joined     the Baltimore Police Department
           ("£3PD") an agency of the State of Maryland whose jurisdiction covers Maryland's
           largest city, Baltimore, on February 20,2003.

       2. The BPD constituted an "enterprise," as defined in Title 18, United States Code,
          Section 1961 (4). The £3PD engaged in, and its activities affected, interstate
          commerce.

       3.   Sworn members of the BPD must abide by the Law Enforcement Officer's             Code of
            Ethics, which provides, in pertinent part:
                As a Law Enforcement Officer, my fundamental duty is to serve the
                community; to safeguard lives and property; to protect the innocent
                against deception, the weak against oppression or intimidation; the
                peaceful against violence or disorder;             and to respect the
                constitutional rights of all to liberty, equality and justice. I will keep
                my private life unsullied as an example to all and will behave in a
                manner that does not bring discredit to me or to my agency. I will
                maintain courageous calm in the face of danger, scorn or ridicule;
                develop self-restraint; and be constantly mindful of the welfare of
                others. Honest in thought and deed both in my personal and official
                life, I will be exemplary in obeying the law and the regulations of
                my department ... I recognize the badge of my office as a symbol of
                public faith and I accept it as a public trust to be held so long as I
                am true to the ethics of police service. I will never engage in acts of
                corruption or bribery, nor will I condone such acts by other police
                officers. I will cooperate with all legally authorized agencies and
                their representatives in the pursuit of justice ... I will constantly
                strive to achieve these objectives and ideals, dedicating myself
                before God to my chosen profession ... law enforcement.

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4. The Special Enforcement Section ("SES") of the BPD focused on investigating
   violent offenders, gangs, and gun crimes across Baltimore.

5. The Gun Trace Task Force ("GTTF") was a specialized unit within the Operational
   Investigation Division of the BPD. The primary mission of the GTfF was the
   tracking and tracing of recovered firearms in order to identify and suppress the
   possession, purchasing, and trafficking of illegal firearms within Baltimore City, and
   to assist with the investigation and prosecution of firearms-related offenses.

6. JENKINS was promoted to Sergeant on November 30,2012. JENKINS became the
   officer-in-charge (OIC) of an SES unit on October 14,2013. JENKINS became the
   OIC of the GTTF on June 13,2016. JENKINS worked with co-defendants Momodu
   Gondo ("Gondo"), Evodio Hendrix ("Hendrix"), Daniel Hersl ("Hersl"), Marcus
   Taylor ("Taylor") Maurice Ward ("Ward") on the GTTF and, previously, with
   Hendrix, Taylor and Ward on the SES unit he led.

7. The purpose of the BPD was to protect and preserve life, protect property, understand
   and serve the needs of the Baltimore City's neighborhoods, and to improve the
   quality of life in Baltimore City.

8. The purposes of JENKINS and his co-defendants included violating the legitimate
   purposes of the BPO in order to enrich themselves through illegal conduct, including
   robbery and time and attendance fraud.

9. Among the means and methods by which the JENKINS, his co-defendants and others
   pursued their illegal purposes were the following:
       a. Beginning in 2015 when JENKINS was the OIC of an SES unit and
          continuing through when JENKINS became the OIC of the GTTF in 2016,
          JENKINS stole drugs from individuals who were temporarily detained and in
          some, but not all cases, arrested. In cases where a detainee was not arrested,
          JENKINS would tell them he was "cutting them a break," or words to that
          effect, and that he was not going to charge them but that he was seizing their
          drugs and would submit them to BPO. JENKINS would not then submit the
          drugs to BPO.
               i. Initially, JENKINS lied to Hendrix and Ward and told them he was
                   submitting seized drugs to the evidence control unit, when, in truth and
                   fact, he was not.
              II. In order to conceal his conduct, JENKINS prepared false incident
                   reports that did not disclose that drugs were seized from detainees and
                   arrestees and, in some instances, did not prepare any documentation at
                   all.


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           III.  Rayam took drugs from JENKINS and sold them through an associate
                 and shared the proceeds with JENKINS.
            iv. JENKINS also used other associates of his to sell drugs he stole from
                 detainees and arrestees.
     b. Beginning in 2015 when JENKINS was the OIC of an SES unit and
        continuing through when JENKINS became the OIC of the GTTF in 2016,
        JENKINS stole money from detainees and arrestees. When conducting law
        enforcement activities with Detectives Taylor, Hendrix and Ward, who were
        members of the SES unit JENKINS led and later went with him to the GTTF,
        JENKINS would take custody of money recovered from detainees and
        arrestees and would keep a portion of it or all of it for himself. On occasions
        when large amounts of cash were seized from arrestees and their homes,
        JENKINS would share the proceeds with Taylor, Hendrix and Ward. Later,
        when JENKINS became the OIC of the GTTF he also engaged in robberies
        with Hersl and with Gondo and Rayam and shared the proceeds of those
        robberies with them.
     e. JENKINS told detainees and arrestees that he was a federal task force officer,
        which he was not, and told his co-defendants to identify him as the U.S.
        Attorney, which he was not, in order to conceal his true identity when he
        robbed detainees and arrestees.
     d. In order to conceal their criminal conduct, JENKINS and other members of
        the conspiracy authored false incident and arrest reports or prepared no
        paperwork whatsoever documenting their encounters with detainees and
        arrestees. JENKINS and other members of the conspiracy created false
        charging documents and made false reports of property seized from arrestees
        to conceal the fact that the defendants stole money, property and narcotics
        from individuals.
     e. In 2016, after he became OIC of the GTTF, JENKINS learned, at various
        times, from sources within the BPD and from an Assistant State's Attorney,
        that he and members of the GTFF were under investigation by federal law
        enforcement. JENKINS shared that information with other members of the
        GTTF. Taylor also learned from a source within the BPD Internal Affairs
        Division that the GTTF was under investigation and Taylor conveyed this
        information to at least one other member of the GTTF. Despite becoming
        aware of this information, JENKINS and the other members of the conspiracy
        continued to engage in criminal conduct.
     f. JENKINS and the other members of the conspiracy defrauded the BPD and
        the State of Maryland by submitting false and fraudulent time and attendance
        records in order to obtain salary and overtime payments for times when the
        defendants did not work.
     g. When JENKINS, Gondo, Hendrix, Hersl, Rayam, Taylor and Ward were
        detained in the Howard County Detention Center, JENKINS directed the


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           defendants to "keep their mouths shut" and "stick to the story," or words to
           that effect, in an effort to obstruct justice. Taylor and Hersl agreed to do so.

10. JENKINS agrees that he associated with the enterprise described in the Superseding
    Indictment; that he knowingly became a member of the conspiracy described in the
    Superseding Indictment; that he engaged in a pattern of racketeering activity; and that
    he conducted or participated in the conduct of the enterprise through that pattern of
    racketeering activity.

                                     Robheries

II. While serving as a BPD officer, JENKINS robbed civilians he detained and in some
    cases arrested, and stole money and drugs from them. JENKINS did this when he led
    an SES unit and later when he led the GTTF. At times, JENKINS shared the
    proceeds with co-defendants Gondo, Hendrix, Hersl, Taylor, Ward, and others, and
    on other occasions, he kept all of the proceeds for himself.

12. JENKINS admits that he participated in the specific robberies listed below, among
    others. Further, JENKINS admits he or other members of the conspiracy or he and
    other members of the conspiracy were armed with BPD service firearms during the
    commission of these robberies, that individual victims of the robbcries were
    physically restrained in some cases to facilitate the commission of the offense, and
    that he authored or approved false and fraudulent incident reports and other official
    documents in some cases in order to conceal his and his co-defendants' criminal
    conduct and otherwise obstruct justice.

      a    May 11,2011,    Robbery   ofW.B.

13. On or about May I 1, 201 I, then-Detective JENKINS and Detective Gondo, acting in
    their capacity as police officers, attempted a traffic stop ofW.I3. W.B. fled and
    eventually crashed his car and continued fleeing on foot. Gondo pursued W.B. on
    foot while JENKINS stayed with W.I3.'s vehicle. Gondo ultimately caught W.B. and
    put him in handcuffs.

14. W.I3. had at least $1,800 in his car, which JENKINS stole. JENKINS later shared the
    cash he stole with Gondo

15. To conceal his illegal conduct, on May 11,20 II, JENKINS authored a false Incident
    Report that was filed with thc BPD. The Incident Report failed to disclose that any
    money was taken from the vehicle.




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       b. July 11,2014,    Robbery    of J.e.

16. On or about July 11,2014, Sergeant JENKINS and Detective Hendrix and Detective
    r., acting in their capacity as police officers, attempted a traffic stop of J.C. in the
    parking lot at Mondawmin Mall. J.C. attempted to flee, first in his car and then on
    foot, ultimately jumping over a retaining wall and falling to a lower level in the
    parking lot where hc was injured.

17. Aftcr J.C. exited his vchicle and jumped over the wall, JENKINS and Hendrix stole
    between $12,000 and $14,000 from J.C.'s car.

18. JENKINS and Hendrix divided up the money in the parking lot of the BPD's Western
    District.

19. To conceal his illegal conduct, JENKINS did not report to BPD the $12,000 to
    $14,000 he seized from J .C.

       c.   Spring 2015, Robbery     at Belvedere   Towers

20. In or about spring 2015, Sergeant JENKINS and Detectives Taylor and Ward, while
    acting in their capacity as police officers, interrupted the sale of a large amount of
    marijuana in the parking lot of Belvedere Towers apartments in Baltimorc City.

21. JENKINS took a bag containing 30 pounds of marijuana from the seller and a second
    bag containing $15,000 from the buyer. JENKINS falsely told the buyer and seller
    that he was a DEA agent and that he would let them go but that he might exercise his
    discrction to charge thcm in the future.

22. JENKINS then directcd Taylor and Ward to a wooded area near the intersection of
    Northern Parkway and Liberty Road. JENKINS told Taylor and Ward to leave their
    phoncs in the car, in order to avoid detection from law cnforcement, and to follow
    him into the woods. Once out-of-sight of the road, JENKINS opened the bag of
    money and gave Taylor and Ward approximately $5,000 each. JENKINS kept the
    rest of the money.

23. JENKINS also kept the 30 pounds of marijuana taken from the drug sale. JENKINS
    never submitted these drugs to BPD. Instead he gave the marijuana to D.S., who sold
    it for $2,000 a pound. D.S. gave JENKINS $30,000 from the sale.

24. To conceal his illegal conduct, JENKINS did not report the money or drugs he seized
    to the BPD.



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       d.   February   4, 2016, Robbery    of M.S.

25. On or about February 4,2016, Sergeant JENKINS and Detectives Ward and Hendrix,
    acting in their capacity as police officers, conducted a traffic stop of M.S., who was
    operating a taxicab at the time, and arrested him.

26. JENKINS, Ward and Hendrix stole approximately        $1,500 to $2,000 from M.S.'s
    taxicab and split the money among themselves.

27. To conceal his illegal conduct, JENKINS did not report to BPD the $1,500 to $2,000
    he seized from M.S.

       e.   Mareh 22,2016,    Robbery     ofO.S.   and K.H.

28. On or about March 22, 20 J 6, Sergeant JENKINS and Detectives Taylor, Hendrix, and
    Ward, acting in their capacity as police officers, conducted a traffic stop and arrested
    O.S. At the time of the arrest, the defendants also took O.S.'s house key and looked
    at his driver's license which identified the location ofO.S.'s residence.

29. Following the arrest ofO.S., JENKINS, Taylor, Hendrix, and Ward entered O.S.'s
    residence. O.S. and K.H.'s son was at their residence when JENKINS, Taylor,
    Hendrix and Ward arrived. K.H. who lived with O.S. at their residence, also came to
    the house while the co-defendants were present. JENKINS, Taylor, Hendrix and
    Ward stole money, including approximately $200,000 from a safe they opened and
    from two bags they seized, and property, including a Breitling men's wristwatch
    valued at $4,000 from the location.

30. JENKINS also stole 2 kilograms of cocaine from the location. JENKINS called D.S.
    and had him come to the vicinity ofO.S.'s residence during the robbery. JENKINS
    met D.S. outside the house and gave him the 2 kilograms of cocaine JENKINS had
    stolen from O.S. 's basement. D.S. sold the 2 kilograms, over time, for $30,000 and
    gave JENKINS $15,000.

31. Alier the search, JENKINS, Taylor, Hendrix and Ward went to Taylor's house. In
    Taylor's basement, JENKINS gave Taylor, Hendrix and Ward, at least $20,000 each
    from the money that had been stolen from O.S. JENKINS kept at least $20,000 for
    himself.

32. To conceal their illegal conduct, JENKINS, Taylor, Hendrix and Ward did not report
    to BPD the more than $200,000 they seized from O.S.



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        f.   July 8, 2016, Robbery   of R.H. and N.H.

33. On July 8, 2016, Rayam. Gondo and Hersl, all of whom were armed, initiated a traffic
    stop ofR.H. and N.H. and placed them in handcuffs.

34. At approximately 3:11 p.m., Gondo called JENKINS. During the call, Gondo said,
    "Hey, what's up. We, ah, we headed down now [to a BPD off-site facility]. We go,
    um, got the package [R.H. is in custody]." JENKINS said, "Hold on one second, hey,
    hey, he's [R.H.) in the car with you?" Gondo replied, "Yeah, I got, I got the, um,
    male [R.H.) and they got the female [N.H.)." JENKINS said, "Okay, hey, uh, did you
    tell them anything at all?" Gondo replied, "No." JENKINS continued, "All right.
    Just tell them you gotta wait for the U.S. Attorney ... " Gondo, "Yeah, we gonna
    meet up with you and [unintelligible)." JENKINS said, "Okay, and when I get there,
    treat me like I'm the fucking U.S. Attorney. Like, hey Sir, how are you, we got our
    target in pocket. And then introduce me as the U.S. Attorney." Gondo said, "I got
    you:'

35. Following this call, JENKINS and Rayam interrogated R.H., in custody, at a BPD
    office. JENKINS falsely told R.H. that he was a federal officer. JENKINS and
    Rayam asked R.H. ifhe had any money in his residence and R.H. told them that he
    did.

36. JENKINS, Hersl, Rayam and Gondo, all of whom were armed, then transported R.H.
    and N.H. to their home in custody. Once at the house, JENKINS, Hersl, Rayam and
    Gondo located $70,000 in cash. Before officers from Maryland State Police (MSP)
    arrived to execute the search warrant, which was an out-of-jurisdiction warrant for the
    Defendants, JENKINS, Hersl, Gondo and Rayam stole $20,000 of the $70,000
    located at the house. MSP recovered the remaining $50,000. No drugs or firearms or
    any other evidence of illegal conduct was recovered at R.II. and N.H. 's home and
    R.H. and N.H. were not charged with having committed any crime.

37. JENKINS also stole R.H.'s wristwatch.     JENKINS gave that wristwatch to D.S. to
    sell.

38. Later that evening, at a bar in Baltimore, JENKINS, Hersl, Gondo, and Rayam met
    and split up $17,000 of the money they had stolen from R.H. and N.H. Gondo gave
    JENKINS his share and HersI's share and JENKINS then gave HERSL his share.

39. In order to conceal their illegal conduct, Rayam authored a false Incident Report for
    the arrest of R.H. and N.H. and the subsequent search of their home that was filed
    with the BPD. Above his signature, Rayam certified that, "I affirm and declare that
    the statements above are true to the best of my knowledge." JENKINS approved the
    report. In that statement, Rayam and JENKINS failed to disclose the fact that an

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    additional $20,000 was seized from R.H. and N.H.'s home.

        g. August 8, 2016, Robbery      of D.A.

40. On or about August 8, 20 I6, Sergeant JENKINS and Detectives Hersl and J .e., acting
    in their capacity as police officers, conducted surveillance of D.A. leaving a storage
    facility. JENKINS, Hersl and J.C. pursued D.A. in their Baltimore City Police
    Department vehicle, and ultimately on foot, and arrested him. JENKINS, Hersl and
    J.C. then brought D.A. and his vehicle back to a location near the storage facility they
    had observed him leaving.

41. D.A. was taken from the scene in a police vehicle. JENKINS, Hersl, Gonda and
    Rayam then went to the storage facility where D.A. maintained a storage unit. Gonda
    and J.e. left the scene to prepare a search warrant for the unit, while JENKINS, Hersl
    and Rayam remained at the unit.

42. While JENKINS, Hersl and Rayam were waiting for J.e. to return with a search
    warrant for the unit, JENKINS called D.S. and told him to break into the storage unit
    and steal the contents. D.S. broke into the unit and recovered three-quarters of a
    kilogram of cocaine.

43. D.S. sold the cocaine and shared the proceeds with JENKINS.       JENKINS also gave
    Hersl some of the proceeds of the sale of the cocaine.

44. To conceal his illegal conduct, JENKINS did not report to BPD the drugs he seized
    from D.A.'s storage unit.

                                  Illegal Searches

45. On multiple occasions, JENKINS and his co-defendants entered residences without a
    search warrant to search for firearms. Members of the GTTF referred to this practice
    as a "sneak and peak." If firearms were located, JENKINS and his co-defendants
    would then obtain a search warrant but would lie in the search warrant affidavit about
    the probable cause for the search or, at the very least, would fail to disclose that they
    had already entered the premises.

                                 Sales of Narcoties

46. In addition to the two instances described above, the March 22, 2016, robbery of O.S.
    and K.H. and the August 8, 20 I6, robbery of D.A., JENKINS gave D.S. drugs he
    stole from detainees and arrestees on multiple occasions, including cocaine,
    marijuana and heroin. D.S. was able to sell cocaine and marijuana that JENKINS
    gave him to his customers and shared the proceeds with JENKINS. JENKINS

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    brought drugs he stole from   detainees and arrestees to D.S.'s home several times a
    week. His visits became so    frequent, that D.S. gave JENKINS a key to D.S. 's shed
    which enabled JENKINS to      leave the stolen drugs for D.S. at all hours of the day and
    night. After the drugs were   sold, D.S. would give JENKINS half the sale proceeds.
    In total, D.S. paid JENKINS    $200,000 to $250,000 for the drugs that JENKINS gave
    D.S. to sell.

47. While D.S. was able to sell cocaine and marijuana to his drug customers, he did not
    have customers interested in buying heroin. When JENKINS gave him heroin, D.S.
    would store it. Over time, D.S. accumulated approximately 200-300 grams of heroin.
    JENKINS gave that heroin to Rayam to sell. Rayam sold some of the heroin and
    shared the profits with JENKINS.

48. JENKINS also stole 4-5 boxes, containing approximately 12 pounds, of high-grade
    marijuana that had been intercepted by law enforcemcnt from the U.S. mail. He gave
    that marijuana to D.S. who sold it for $2,000 to $3,000 a pound. D.S. split the
    proceeds of those sales with JENKINS.

49. In April 2015, following the riots after the death of Freddy Gray, JENKINS brought
    D.S. prescription medicines that he had stolen from someone looting a pharmacy so
    that D.S. could sell the medications.

                         Breaking    and Entering    Homes

50. JENKINS broke into unoccupied houses to steal money, property and drugs.

51. JENKINS participated the execution of a search warrant in the home of a suspected
    drug dealer where $900,000 was seized in Baltimore County. After that search
    JENKINS placed an illegal tracker on the car of an individual that JENKINS believed
    was the drug dealer's supplier. JENKINS followed the driver to two residences.
    JENKINS broke into the first residence with D.S. and stole seven luxury watches,
    including 5 Rolexes and 2 Breitlings. In total, the watches were worth between
    $170,000 and $200,000. JENKINS thcn broke into the second house but did not find
    anything of value.

52. Following the robbery described above at O.S. 's residence, JENKINS identified an
    individual who he believed was O.S.'s drug supplier and broke into that individual's
    home with Hendrix. JENKINS did not find anything of value.

                       Stealing   frolll a Drug Dealer's   Car

53. JENKINS put an illegal GPS tracking device that he obtained from D.S. on the car of
    a suspected drug dealer. JENKINS learned through law enforcement sources that the

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       suspected drug dealer had been pulled over and that he had $30,000 to $35,000 in his
       car but, because there were no drugs or other contraband in the car, he was released.
       JENKINS then followed the drug dealer's car, using the illegal GPS tracking device
       he placed on it, to a Sam's Club parking lot in Baltimore County. When the car was
       unoccupied, JENKINS sent D.S. to break into the car and steal any money in it.

   54. D.S. broke into the car and retrieved $15,000 to $20,000, which he split with
       JENKINS.

                        Stealing   Illegallv Operated   Dirt Bikes

   55. JENKINS stole dirt bikes, which cannot be legally operated in Baltimore City, from
       individuals riding the dirt bikes on city streets and then sold them through an
       associate.

Alerting   Members   of the Conspiracv   to Investigations      into their Criminal   Conduct

   56. JENKINS learned that Gondo, Rayam, or both of them, were under investigation
       from other BPD officers and from an Assistant State's Attorney in the Baltimore City
       State's Attorney's Office. In approximately June 2016, JENKINS learned from a
       I3PD officer that there was a federal wiretap on Gondo's phone. JENKINS shared
       this information with Hers!. Later on October 5,2016, JENKINS spoke with an
       Assistant State's Attorney who told him that Rayam was under investigation for lying
       and stealing. JENKINS then shared that information with Rayam.

                     Time and Attendance         and Overtime     Fraud

   57. JENKINS routinely submitted false and fraudulent individual overtime reports. On
       these reports, JENKINS falsely certified that he worked his entire regularly assigned
       shift, when he did not, and that he worked additional hours for which he received
       overtime pay, when in truth and fact he had not worked all and in some cases any of
       those overtime hours.

  58. As of the OIC of an SES unit and later the GTTF, JENKINS approved false and
      fraudulent overtime reports for other members of the conspiracy knowing that they
      were, in fact, false and fraudulent. The I3PD relied on JENKINS as a supervisor, to
      only approve overtime reports when the officer submitting them had, in fact, worked
      the hours they claimed to have worked. JENKINS violated that trust by approving
      overtime reports that resulted in officers he was supervising receiving payments for
      time they did not work.

  59. As of the OIC of an SES unit and later the GTTF, JENKINS also instructed his co-
      defendants when to arrive for work, in many cases hours after his regular shift began,
      and also instructed his co-defendants how much overtime to claim, including
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   routinely directing them to claim more overtime than they had actually worked. This
   degree of coordination was necessary in order to conceal from BPD that the GTTF
   was overbilling for overtime. Specifically, it was necessary that members of the
   GTTF submit individual overtime reports for the same hours to create the illusion that
   JENKINS and his co-defendants, who were working as a unit, were actually working.

60. JENKINS submitted false and fraudulent overtime reports for himself and for his co-
    defendants who were members of the GTTF, with their knowledge and at their
    direction.   His co-defendants also submitted false and fraudulent individual overtime
    reports, with his knowledge and at his direction, on his behalf. The practice at the
    GTTF was that if a sub-set of the GTTF had a gun arrest, all members of the GTTF,
    regardless of whether they had actually participated in the arrest, would submit
    individual overtime reports, as if they did. On some occasions, this occurred when
    JENKINS and his co-defendants were not working at all on the day of the arrest. In
    that circumstance, it was necessary for one of his co-defendants to submit the
    individual overtime report for JENKINS, or for him to do it for one or more of them.

61. In submitting false and fraudulent individual ovcrtime reports, JENKINS actcd with
    the intent to defraud the BPD and the citizens of the State of Maryland.

                      Planting Evidence on    u.n. and   B.M.

62. On April 28, 20 I0, JENKINS driving an unmarked BPD vehicle with Officer #2 as
    his passenger, and Officer #1, who was also driving an unmarked I3PD vehicle,
    engaged in a vehiclc pursuit of a car driven by U.B. I3.M. was a passenger in the car
    driven by U.I3.

63. At the interscction of Belle Avenue and Gwyn Oak Avenue, U.I3., who was driving at
    a high speed, struck a car entering the intersection. The impact of the collision was so
    great that the car was pushed onto the front porch of a row house on the Southeast
    corner of the intersection. The car was operated by an elderly man and his wife was a
    passenger. The elderly driver was trapped in the car after the collision and died later
    that day.

64. JENKINS did not lind any drugs in the car driven by U.B. immediately     after the
    crash.

65. After the crash, and after U.I3. and I3.M. had been arrested, JENKINS told Officer #2
    to call a Sergeant who was not at the scene because he had the "stufP' or "shit" in his
    car. or words to that effect.

66. Later, Officer #1 found approximately 28 grams of hero in in the vehicle. In fact, this
    heroin had come from JENKINS' police vehicle and had been planted in the car
    driven by U .13.
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67. Later that day, JENKINS authored a false Statement of Probable Cause where he
    claimed that, "32 individually wrapped pieces of plastic containing a tan powder
    substance each weighing approximately one gram (all of which was suspected high
    purity heroin)" was recovered from U .B.'s car by Officer # I, when in truth and fact,
    JENKINS knew that the heroin in U.B.'s car had been planted. JENKINS signed the
    report under an affirmation that declared, "I SOLEML Y AFFIRM UNDER
    PENALTIES OF PERJURY THAT THE MATTERS AND FACTS SET FORTH IN
    THE FOREGOING DOCUMENT ARE TRUE TO THE BEST OF MY
    KNOWLEDGE, INFORMATION AND BELIEF."

68. Following the incident, JENKINS listened to recorded jail calls of U.B. and B.M.
    JENKINS told Officer #2 that they were saying that the heroin recovered from the car
    had been planted on them. JENKINS told Officer #2 that JENKINS could not testify
    if the case went to trial because, "something had been put in the car" or words to that
    effect, referring to the heroin that had been planted in U.B.'s car.

69. JENKINS knew that U.B. and B.M. were subsequently charged with, and imprisoned
    for, federal drug charges for the heroin that had been planted in U.B, 's car.

70. Later, when JENKINS was the OIC oran SES unit and of the GTTF he told his co-
    defendants about this episode. JENKINS discussed carrying BB gun pistols so that
    he could plant them on a suspect ifhe could not find a firearm on the suspect. When
    JENKINS and the other members of the GTTF were arrested, BB gun pistols were
    recovered from their vehicles.

71. JENKINS admits that bctween in or about April 28, 20 I0, and November 30, 2017,
    he knowingly concealed, covered up and falsified and made false entries in an official
    Statement of Probable Cause in the District Court of Maryland for Baltimore City
    reflecting his actions, and actions of his fellow Baltimore Police Department officers,
    in relation to the seizure of heroin from an automobile opcrated by U.B. and in which
    B.M. was a passenger on April 28,20 I0, with the intent to impede, obstruct and
    influence the investigation and proper administration of that matter, a matter within
    the jurisdiction of the United States Drug Enforcement Administration, a department
    and agency of the United States, or in relation to or contemplation of any such matter.

72. JENKINS admits that between in or about April 28, 20 I0, and in or about August 31,
    2017, while acting under color of law, he willfully deprived U.B. of the right, secured
    and protected by the Constitution and laws of the United States, to be free from the
    deprivation of liberty without due process of law, which includes the right to be free
    from incarceration due to the fabrication of evidence by a law enforcement officer.
    Specifically, on April 28, 20 I0, the defendant submitted a false Statement of Probable
    Cause in which he claimed that drugs had been recovered from U.B.'s car, even

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   though JENKINS knew that the drugs were planted in the car; thereafter, JENKINS
   failed to correct his false statement during U.13.'s incarceration, which lasted until
   August 31, 2017.

73. JENKINS admits that between in or about April 28, 20 I 0, and in or about September
    9,20 I 3, while acting under color of law, he willfully deprived 13.M. of the right,
   secured and protected by the Constitution and laws of the United States, to be free
   from the deprivation of liberty without due process of law, which includes the right to
   be free from incarceration due to the fabrication of evidence by a law enforcement
   officer. Specifically, on April 28, 2010, the defendant submitted a false Statement of
   Probable Cause in which he claimed that drugs had been recovered from 13.M.'s car,
   even though JENKINS knew that the drugs were planted in the car; thereafter,
   JENKINS failed to correct his false statement during I3.M.'s incarceration, which
   lasted until September 9,2013.

74. JENKINS admits that betwcen in or about April 28, 20 I 0, and in or about August 31,
   20 I7, while acting under color of law, he willfully deprived U .13.of the right, secured
   and protected by the Constitution and laws of the United States, to be free from the
   deprivation of liberty without due process of law, which includes the right to be free
   from incarceration due to a law enforcement officer's willful failure to disclose
   exculpatory evidence to a prosecutor. Specifically, the JENKINS willfully violated
   his ongoing obligation to disclose to a prosccutor the fact that he had lied in a
   Statcment of Probable Cause that he knew would bc relied upon, and that was in fact
   rclied upon, to detain U.13.

75. JENKINS admits that between in or about April 28, 20 I 0, and in or about September
    9,2013, while acting under color of law, he willfully deprived 13.M. of the right,
   secured and protected by the Constitution and laws of the United States, to be free
   from the deprivation of liberty without due process of law, which includes the right to
   be free from incarceration due to a law enforcement officer's willful failure to
   disclose exculpatory evidence to a prosecutor. Specifically, the JENKINS willfully
   violated his ongoing obligation to disclose to a prosecutor the fact that he had lied in a
   Statement of Probable Cause that he knew would be relied upon, and that was in fact
   relied upon, to detain 13.M.




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